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   8                         UNITED STATES DISTRICT COURT
   9                       SOUTHERN DISTRICT OF CALIFORNIA
  10    LINDA BLAIR,                                        NO. 13-CV-134-MMA(WVG)
  11                                    Plaintiff,          ORDER FOR ADDITIONAL
               vs.                                          BRIEFING
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        THE CBE GROUP
  13    INCORPORATED,
  14                                  Defendant.
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             Plaintiff Linda Blair moves for an extension of time to file her First Amended
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       Complaint so that she may resolve issues around jurisdictional discovery. Defendant
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       avers such extension is unnecessary because it has “offered to stipulate to personal
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       jurisdiction.” Despite Defendant’s contention to the contrary, personal jurisdiction
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       is an issue that bears on whether venue is proper in this District. The Court is
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       inclined to grant Plaintiff’s motion, as there appears to be a dispute over the scope
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       and type of discovery. However, if Defendant concedes that personal jurisdiction
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       exists for purposes of the Court’s previous discussion regarding venue, an extension
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       of time is not necessary. The result of such a concession would be that (1)
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       Defendant “resides” in this district for venue purposes; (2) meaning that venue is
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       proper in this District; and, consequently, (3) Plaintiff will be allowed to file a First
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       Amended Complaint. Such a concession would avoid the need for the Court’s
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       intervention with the parties’ current discovery dispute, thereby preserving judicial
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   1   resources and allowing this case to proceed. Accordingly, no later than July 26,
   2   2013, Defendant shall file additional briefing on whether it concedes personal
   3   jurisdiction for venue purposes. Otherwise, the Court is inclined to grant Plaintiff’s
   4   motion and refer the discovery dispute to the Honorable William V. Gallo.
   5   IT IS SO ORDERED.
   6   DATED: July 25, 2013
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                                                Hon. Michael M. Anello
   8                                            United States District Judge
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